 

Case: 3:17-cv-50396 Document #: 1 Filed: 12/27/17 Page 1 of 15 Page|D #:1

UNITED STATES DISTRICT£COURT
NORTHERN DISTRICT OF ILLII§TOIS

WESTERN DIVISIGN
RECEWEB

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THO:'\HH-z.€§-'- G_ F_-?F';U TON
CLERK, U.S. [J|STR`ECT COURT

 

 

(Enter above the full name
of the plaintiff Or plaintiffs in

 

this action) 17cy50396
VS Judge Frederick J. Kapala
' Magistrate Judge lain D. Johnston
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E, CDL)'! FA )<

 

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(Enter above the full name cf ALL
defendants in ihis action DO not
use "et al. ") '

CHECK ONE ON'LY:

COMPLAINT UNDER ’l"HE C.`{VIL RIGHTS ACT, TITLE 42 SECTION 1933
U.S. Ccd€ (stare, county car municipal defendants)

COMPLAINT UNDER TH_E CGNSTITUHON ("BIVENS" ACTION, TITLE
28 SECTIOI{ 1331 U.S. Code (fecl€ral defendants)

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x OTHER(citestatute,ifl<nown) F'C,P\Fa 'T'\TLE 15 U§C'f`> f(o‘il

BEFORE FILLING OUT THIS COMPLUNT, PLEASE REFER TO "INSTRUCTIOL‘JS FOR
FILING. " FOLLO W THESE !NSTR UCTIONS CAREFULL Y.

:n.-

H.

 

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Plaintiff(S):
A. Name: Mp.go`\a\} wanda AL);:><,'\§ `§R-

 

 

 

B. List all aliases:

C. Prisoner identification nnrnber: 6 ' 0 7 Co 2-;

D. Place of present confinement _B`t ford CQ|?_R . CTR .

e_ Aaaress.- Z@Oo !\J. €\Q_'. :~J"'t`<`a¢~.a Ave.j 0`;-><0:\)) IL t to 1021

 

(lf there is more than one plaintiff, then each plaintiff must list his or her name, aliases,
I.D. number, and current address according to the above format on a separate sheet of

paper-l

Defendant{s):
(ln A below, place the full name of the first defendant in the first blank, his or her official

position in_the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

A. Defendant: TP\AMS l}|\}iOH _
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Place"of Employrnent:
B. Defendant: 6 Cl) U l FA ¥_

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`Place of Eniployrnent:
-C. Defendant: E>< PE> F“’\ tl A 1\)
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Place of Ernploynaent:

lf you have more than three defendants, then all additional defendants must be listed

according to the above format on a separate sheet of paper.)

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IH. Exhaustion of Administrative Remedies

You are required to exhaust all your available administrative remedies before bringing an

action in federal courtl
A. ls there a grievance procedure available at your institution?

YES ( ) NO ( ) lfthere is no grievance procedure, skip to F.

   

ave you filed a grievance concerning the facts in this complaint?

\ /
\ /

2. :Vv`hat was the r${? /

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" If the grievanc ivas not resolve to your satisfaction did you appeal? What

_J.
was the result (if t re was no procedu for appeal, so state.)

_/ \\

D. if your answer is NO, explain why not:

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E. ls the grievance procedure now completed? YES ( ) NO ( )

:“l'l

lf there is no grievance pro dceure in the institution did vou co'nnlai
authorities? YES w NO( j y ‘

"tiO

G. lfyo uar answeris YES:

 

 

 

l “/hat steps did you take?
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2_ What Was the result? 555 EKi/\iiotTR 3 MA‘L-)r

 

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police D`BP'\"“!R.TW"\E .rO'T , ` 'AT`C'Q among C:AL\;;.A.)EML SBLT bBTlI;~t/\

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If your answer is NO, explain Why not:

 

 

 

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IV.

 

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List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court [including the Central and Southern Districts of Illinois):

A_

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er

IF YOU HAVE FILED MOR_E THAN ONE LAWSUIT, TH_EN YDU i‘~/IUST DESCRIBE
THE ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING T`HIS SAl`le
FOR'\'LAT. REGARDLESS OF `HOW MANY CASES YOU HAVE PREV

‘r"OU WILL l`\lGT BE EXCUSED FRC'M Fii'_-LING OUT
AND FAILURE TO DO SO MAY RESULT IN DISF\/
PLAINTIFFS l\/l"UST ALSO LIST ALL CASES THEY HAVE FILED.

'court, name the county): Noli`[hea,,\l fbif’§l'm`c'?' c)€ IL(jMor§; WBST{;¢LAJ Diui&ioa`_§

l\larne of case and docket number MARU}M Ag}`Th Aloo¢\`§ "IP. t \J':`:»d
Mr=r)t&n Cttu\~ct>le€;. (`m§‘tt€> O‘~‘tol" LAQQJTM% -- 12 C. 50 113

 

Approximate date of filing lawsuit:

1....

List all plaintiffs (if you had co-plaintiffs), including any aliases:

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Listalldefendants: M‘Z>DP_A Qi\AanEej

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Curz?f¢`"\ h’meak l

 

Court,in Which the lawsuit was filed (if federal court, name the district; if state

 

Nante _ofjudge to \,vhorn case was assigned:

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Disposition ofthis case (for example: Was the case dismissed? Was 't appealed?
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Approxitnate date of disposition:

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V. STATEMENT OF CLAlM:

Plaintiff, Marvin Alexis, an lllinois state prisoner, has
brought this pro-se civil rights action pursuant to 15 U.S.C.
1681 et. seq..

Plaintiff claims that Defendants: Equifax, Experian, and
Trans Union, each major credit reporting agencies, refused to
disclose to him requested free copy of his credit report, scores
and a fraud alert after they were informed numerous times that
Plaintiff was a victim of identity theft. Plaintiff's identity
has been fraudulent used since the denial of the credit report
and fraud alert. Plaintiff claims that this continuous identity
theft could have been detected, if not thwarted, if a fraud
alert would have been issued, and a credit report would have
been issued; Refusal was a negligent non-compliance, and its
willful and intentional refusal to make certain disclosures in
regards to a consumer credit report and fraud alert is a clear
violation of the requirements imposed on it by the Fair Credit
Reporting Act, 15 U.S.C. 1681 et. seq..

Such negligent non-compliance, willful and intentional
violation subject the Defendants to liability for actual,
statutory, and punitive damages, including but not limited to,

humiliation,embarrassment, mental distress, cost of action, and
reasonable attorney fees, as provided by 15 U.S.C. 1681 n(a)(l)

(a), and 16810.

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VI. JURISDICTION

This court has jurisdiction over the Plaintiff's claim of
violation of Federal Constitutional rights under 42 U.S.C. 1331
(1) and 13h3; and statutory rights under 15 U.S.C. 1681 et. seq..

Vll. PARTIES

1). Plaintiff is a citizen of the U.S. and a resident of the
state of Illinois. At all times hereto, he was in custody

of the lllinois Department of Corrections (IDOC).

2). At all relevant times hereto, Defendant,tEquifax, is one
of United States major credit reporting agencies within
the definition of 15 U.S.C. 1681a(f). its responsible for
providing consumers requesting copies of their credit reports,
pursuant to FCRA, which gives consumers rights when they are,
or believe they are, the victim of identity theft. And at all
times relevant it was acting under the color of state and
federal laws. It being sued in its individual and official
capacity for injunctive relief.

3)- At all relevant times hereto, Defendantj?Etperian§”is'one-
éf€United States major credit reporting agencies within
the definition of 15 U.S.C. 1681a(f). Its responsible for
providing consumers requesting copies of their credit
reports, pursuant to FCRA, which gives consumers rights
when they are, or believe they are, the victim of identity
theft. And it all times relevant it was acting under the
color of state and federal laws. lt is being sued in its

individual and official capacity for injunctive relief.

4). At all relevant times hereto, Defendant, Trans Union, is one
of United States major credit reporting agencies within
the definition of 15 U.S.C. 1681a(f). Its responsible for

providing consumers requesting copies of their credit
reports, pursuant to FCRA, which gives consumers rights

when they are, or believe they are, the victim of identity

theft. And at all times relevant it was acting under the !

 

 

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the color of state and federal laws. lt is being sued
in its individual and official capacity for injunctive

relief.

 

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Vlll. FACTUAL ALLEGATION

Defendantsl actions of refusing to provide Plaintiff with a free
copy of his credit report, scores, and fraud alert, after he
showed proper identification, including an IDOC Verification of
lncarceration, a copy of the U.S. Dept. of Justice letter with
Plaintiff's name and facts of being a victim of identity theft,
and other proof of Plaintiff's identification (SSN) included

in the Verificaiton of Incarceration, is a clear violation of
his rights under 15 U.S.C. 1681a,c-1,g(a)(1) of the FCRA.
Because of this negligence and non-compliance, it has resulted
in continuous undetected identity theft against the Plaintiff
resulting in thousands of dollars in damages, and a destroyed
credit of Pliantiff.

RELIEF: Wherefore, Plaintiff requests that the court grant the
following relief:

A. Defendants, Experian, Equifax, and TransUnion's action of
failure to comply with Plaintiff's request for free copy of
his credit report and fraud alert, constitues a negligent
non-compliance and willful and intentional violation of his
rights under the Fair Credit Reporting Act 15 U.S.C. 1681 et.

seq..
B. lssue an injunction ordering Defendants and/or its agents to:

1. To provide Plaintiff a copy of his credit report, scores,
and to put up a fraud alert.

2. Expunge damages done to Plaintiff's credit as a result of
identity theft.

C. Award compensatory damages in the following amounts:

Defendant, Experian, $25,000;
Defendant, Experian, $25,000;
. Defendant, TransUnion, $25,000;

. The actual damages sustained by identity theft since

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Defendants' violation;

 

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5. Such amount of punitive and compensatory damages as the

court may allow; and,

6. The cost of action with reasonable attorney fees.

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STATEMENT OF FACTS

1. On October 24, 2014, The U.S. Dept. of Justice (US DOJ)-
Northern District of Georgia- sent Plaintiff a letter to

Dixon Correctional Center, where he resides.

2. The US DOJ informed Plaintiff that he was identified by law
enforcement as a victim of Aggravated ldentity Theft.

3. The US DUJ further stated that the suspect, Qadir Abdul Shabazz,
was caught and charged. (Exhibit A)

&. The US DOJ instructed Plaintiff to file a request with the
Defendants for a free credit report.

5. The US DOJ also instructed Plaintiff to request that Defendants

put a a fraud alert.

6- On October 27, 2014, Plaintiff sent a letter, through the

Dixon Correctional Center (Dixon C.C.) institutional mail, to
Defendants individuallly, to request a free credit report.

7. Plaintiff also requeste!to the Defendants individually to put

up a fraud alert.

8. Plaintiff informed Defendants that he was a victim of identity
theft.

9- Plaintiff enclosed a copy of the letter from the US DOJ, along
witb;his personal information to expedite the process: Full
name, date of birth, ssn, incarceration date, projected
release date, current address, and alias. (Exhibit B,C,D)

lO.Defendant Equifax did not respond to Plaintiff's letter.
11. Plaintiff TransUnion did not respond to Plaintiff's letter.

12. Defendant, Experian, responded to Plaintiff's request.

13. Experian stated that they were unable to locate information
about Plaintiff, because he did not provide sufficient
identification information for them to verify his identity,
or that Plaintiff did not have established a credit history.

(Exhibit E)

14. On December 10, 2014, Plaintiff wrote another letter to

 

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Defendants through Dixon C.C. insitutional mail to request

a free credit report and a fraud alert. (Exhibit F,G,H)

Again, Plaintiff provided the same information that he

provided to agencies in October.

Defendant, Equifax, did not respond to Plaintiff's letter.
Defendant, TransUnion, did not respond to Pliantiff's letter.

Defendant, Experian, responded to Plaintiff's request.

Experian stated that they were unable to honor Plaintiff's
request for a personal credit report because they showed
that Plaintiff's current address relates to a correctional
institution. (Exhibit I)

On duly 5, 2015, after learning that Defendants' non-response
and outright denial was a violation on FCRA, Plaintiff sent

a letter through Dixon C.C. lnstitutional mail to Defendants.
(Exhibit J,K,L)

Pliantiff included a copy of his verification of lncarceration,
an official I.D.O.C. offender tracking system signed and

dated by Ms. Becky Williams, Dixon C.C. Records Office
§upervisor. (Exhibit M)

The verification of lncarceration sheet contained Plaintiff's
name, IDOC register number, date of birth, living unit,
holding mittimus custody date, date entered into lDOC custody,
dated entered into Dixon C.C., Projected release date from
custody, and description of Plaintiff's offense with his

indictment number.

None of the Defendants responded.

On November 7, 2016, while speaking on the phone with his
father, Plaintiff was informed that an investigator from a

credit agency contacted him in regards to Plaintiff's
whereabouts.

uThe investigator informed Plaintiff's father that $5600 was
taken out of a credit union and put down on a Pontiac car,

all in Plaintiff's name. The investigator contacted Plaintiff's

home seeking the remaining balance on the car on behalf of
the car dealership.

26.

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Upon further investigation, Plaintiff found out that from
201& to current date, Plaintiff's identity has been used,
unbeknownst and unauthorized to him, for various purchaes,
bills, and utilities.

27.The_unknown identity thief is said by investigators to be

located somewhere in Alabama and/or southern U-S..

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On December 6, 2016, Plaintiff sent a letter to Defendants
through Dixon C.C. institutional mail. (Exhibit N,O,P)

In the letters to the Defendants, Plaintiff explained about
the%latest ldentity Theft, and included the Verification
of Incarceration, along with the letter from the US DOJ.

Defendant, Experian, did not respond to Plaintiff!s letter.

Defendant, Equifax, did not respond to Plaintiff's letter-

Defendant, TransUnion, responded to Plaintiff's letter.

TransUnion stated that based on the information that Plaintiff

provided, they were unable to locate a credit report for him.
(Exhibit Q)

Plaintiff realized, based on research of FCRA violations,

that these responses and non-responses from the Defendants
have been intentional and constitutes a violation of FCRA.

In March 2017, Plaintiff filed charges of ldentity theft
with Illinois' Attorney General. (Exhibit R)

On June 2017, Plaintiff filed charges with the Dixon police
department through Dixon institutional mail. Dixon P.D.
has not responded to Plaintiff to this date.

 

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CLAIMS FOR RELIEF

Plaintiff asserts that Defendants' refusal to send Plaintiff
a personal credit report and put up a fraud alert violates
FCRA law.

. Plaintiff asserts that if Defendants would have put up the

fraud alert initially requested for in 2014, both parties
would have been alerted when Plaintiff's identity was used
after request until current date. The alert would have
possibly prevented the extensive damage done to Plaintiff's

De£§onal credit record.

. Plaintiff asserts that Defendants' action stated in complaint,

affirms negligent non-compliance, which has resulted into
severe damage to Plaintiff's personal credit record, and the

continuous unauthorized use of Plaintiff's personal information.

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AFFIDAVIT

I, Marvin Alexis, declare under penalty of perjury, that at no
time did l ever authorize anyone to use my personal information

(social security number, name, birth certificate, etc.) for

any reason whatsoever.

 

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OFFlGlAL SEAL
SALLY A. JOOS

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My Commiss\on Expires Ju| 13 2020

